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              November 26, 2024

              VIA ACMS

              Catherine O’Hagan Wolfe
              Clerk of Court
              United States Court of Appeals for the Second Circuit
              40 Foley Square
              New York, New York 10007

                        Re:   United States v. Combs, No. 24-2606


              Dear Ms. Wolfe:

                      On behalf Defendant-Appellant Sean Combs, we write pursuant to the Court’s October
              24, 2024 Order (Dkt. 36) requesting a status update on the bail proceedings before the district
              court. Mr. Combs’ renewed motion for bail before the district court is fully briefed, the court
              held a hearing on the motion on Friday, November 22, 2024, and the motion remains sub judice.




                                                                    Respectfully Submitted,

                                                                    /s/ Alexandra A.E. Shapiro

                                                                    Alexandra A.E. Shapiro




              cc: All Counsel of Record (via ACMS)
